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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

SUZANNE DEGNEN, D.M.D., P.C. d/b/a                  )
SUNSET TOWER FAMILY DENTISTRY,                      )
                                                    )
                      Plaintiff,                    )
                                                    )
              v.                                    )      Case No.: 4:15-cv-00450-JAR
                                                    )
SCHEDULING INSTITUTE, INC. d/b/a                    )
SCHEDULING INSTITUTE, JAY M. GEIER,                 )
individually and d/b/a                              )
SCHEDULING INSTITUTE                                )
and JOHN DOES 1-10,                                 )
                                                    )
       Defendants.                                  )


                                           ORDER

       Pursuant to the hearing held on February 4, 2016,

       IT IS HEREBY ORDERED that the parties shall submit an amended motion for

preliminary approval of settlement on or before February 19, 2016.

       Dated this 4th day of February, 2016.



                                               _____________________________
                                               JOHN A. ROSS
                                               UNITED STATES DISTRICT JUDGE
